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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS

________________________________________________
                                                :
SECURITIES AND EXCHANGE COMMISSION,             :
                                                :
                        Plaintiff,              :
                                                :
                  v.                            :                         Civil No. 19-CV-11676-NMG
                                                :
TANMAYA KABRA, et al.,                          :
                                                :
                                                :
                        Defendants.             :
________________________________________________:


        ASSENTED TO MOTION OF PLAINTIFF SECURITIES AND EXCHANGE
             COMMISSION FOR ENTRY OF FINAL JUDGMENT AS TO
                            ALL DEFENDANTS

        The Securities and Exchange Commission (“SEC” or “Commission”) filed its complaint

in this matter on August 5, 2019, against Tanmaya Kabra, aka Tan Kabra ("Kabra") and

Launchbyte.IO, LLC aka The Kabra Group, LLC ("Launchbyte"). A related criminal action

against Kabra was filed in this District (the “criminal case”), also in August 2019. Kabra

entered a guilty plea in the criminal case (United States v. Tanmaya Kabra, Criminal No. 1:19-

cr-10335-DJC (D. Mass.)) 1 and was sentenced on September 15, 2021. The Court in the criminal

case entered judgment and ordered Kabra committed to the custody of the Bureau of Prisons for

a term of 21 months followed by a term of supervised release. The Court further imposed a fine

in the amount of $15,000, restitution in the amount of $1,842,106.24 and a special assessment of

$400.




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 Kabra pleaded guilty to four counts of a Superseding Information: 18 U.S.C. § 1343 (Wire Fraud). All counts in a
prior Indictment were dismissed.
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       Kabra and Launchbyte subsequently executed signed consents to entry of final judgments

in this matter. Exhs. A and B. Following the process for review and approval of proposed

settlement terms by the Commission, the parties now submit those proposed terms to the Court

and request entry of final judgments as to Kabra and Launchbyte. Submitted with this motion

are signed and notarized consents from both defendants (Exhs. A and B) and proposed final

judgments for Kabra and Launchbyte, respectively. Exhs. C and D.

       A. Background

       The Commission’s Complaint alleges that Kabra and Launchbyte, beginning no later than

June 2018 and continuing through at least August 4, 2019, deceived investors into giving Kabra

money with false promises of double-digit returns in a matter of months with no risk. Upon

receipt, Kabra used investor money to, among other things, buy himself a boat, pay credit card

balances, and make Ponzi-like payments to earlier investors.

       By engaging in the alleged conduct, the Commission's Complaint charged that Kabra and

Launchbyte violated Section 17(a) of the Securities Act of 1933 (the "Securities Act") and

Section 10(b) of the Securities Exchange Act of 1934 (the "Exchange Act") and Rule 10b-5

thereunder.

       B. Proposed Settlements

       The proposed settlement terms are as follows: a) as to both Kabra and Launchbyte,

injunctive relief that permanently restrains and enjoins them from violations of 17(a) of the

Securities Act and Section 10(b) of the Exchange Act and Rule 10b-5 thereunder; b) as to Kabra

only, an order of disgorgement i) ordering him to pay $500,000 in disgorgement plus

prejudgment interest of $67,793.46, totaling $567,793.46, and ii) deeming disgorgement and

prejudgment interest satisfied by the order of restitution in the amount of $1,842,106.24 entered

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in the criminal case; and c) as to Kabra only, ordering that any funds held by First Republic Bank

pursuant to the asset freeze order entered in this case be directed to payment of restitution in the

criminal action.

       The proposed settlement terms for the respective defendants are appropriate and in the

public interest. Injunctive relief is an appropriate sanction as a deterrent for future conduct. In

addition, the ill-gotten gains realized by Kabra already have been addressed by the Court’s order

of restitution in the criminal case. In that regard, the [Proposed] Final Judgment reflects that

Kabra is liable for the disgorgement of gains realized as a result of the conduct alleged in the

Complaint, but that disgorgement is deemed satisfied by the order of restitution entered in the

criminal case.

       Finally, given that Kabra has been prosecuted criminally for the same conduct underlying

this action, and that he is currently serving a 21-month sentence of incarceration, it is appropriate

that a civil monetary penalty not be imposed here.

                                              Respectfully submitted,

                                              SECURITIES AND EXCHANGE COMM.

                                              By its attorneys,



Dated: December 30, 2021                      //s// Martin F. Healey
                                              Martin F. Healey (Mass Bar No. 227550)
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                             LOCAL RULE 7.1 CERTIFICATE

        I, Martin F. Healey, hereby certify that counsel for the Commission conferred with
counsel for the respective defendants in framing the proposed settlement and that the defendants
assent to the relief requested herein.


                                                    ______//s// Martin F. Healey__________




                                    CERTIFICATE OF SERVICE


        I certify that on December 30, I caused a copy of the foregoing document to be filed
through the ECF system and, accordingly, the document will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (“NEF”).




                                               //s// Martin F. Healey________________
                                               Martin F. Healey




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